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    Plaintiffs’ Response to
   Google’s OSC Response

     Redacted Version of
    Document Sought to be
           Sealed
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1     BOIES SCHILLER FLEXNER LLP                 SUSMAN GODFREY L.L.P.
      David Boies (admitted pro hac vice)        Bill Carmody (admitted pro hac vice)
2     333 Main Street                            Shawn J. Rabin (admitted pro hac vice)
      Armonk, NY 10504                           Steven M. Shepard (admitted pro hac vice)
3     Tel: (914) 749-8200                        Alexander Frawley (admitted pro hac vice)
      dboies@bsfllp.com                          1301 Avenue of the Americas, 32nd Floor
4                                                New York, NY 10019
      Mark C. Mao, CA Bar No. 236165             Tel.: (212) 336-8330
5     Beko Reblitz-Richardson, CA Bar No. 238027 bcarmody@susmangodfrey.com
      Erika Nyborg-Burch, CA Bar No. 342125      srabin@susmangodfrey.com
6     44 Montgomery St., 41st Floor              sshepard@susmangodfrey.com
      San Francisco, CA 94104                    afrawley@susmangodfrey.com
7     Tel.: (415) 293-6800
      mmao@bsfllp.com                            Amanda K. Bonn, CA Bar No. 270891
8     brichardson@bsfllp.com                     1900 Avenue of the Stars, Suite 1400
      enyborg-burch@bsfllp.com                   Los Angeles, CA 90067
9                                                Tel.: (310) 789-3100
      James Lee (admitted pro hac vice)          abonn@susmangodfrey.com
10    Rossana Baeza (admitted pro hac vice)
      100 SE 2nd St., 28th Floor                 MORGAN & MORGAN
11    Miami, FL 33131                            John A. Yanchunis (admitted pro hac vice)
      Tel.: (305) 539-8400                       Ryan J. McGee (admitted pro hac vice)
12    jlee@bsfllp.com                            201 N. Franklin Street, 7th Floor
      rbaeza@bsfllp.com                          Tampa, FL 33602
13                                               Tel.: (813) 223-5505
      Alison L. Anderson, CA Bar No. 275334      jyanchunis@forthepeople.com
14    725 S Figueroa St., 31st Floor             rmcgee@forthepeople.com
      Los Angeles, CA 90017
15    Tel.: (213) 995-5720                       Michael F. Ram, CA Bar No. 104805
      alanderson@bsfllp.com                      711 Van Ness Ave, Suite 500
16                                               San Francisco, CA 94102
                                                 Tel: (415) 358-6913
17                                               mram@forthepeople.com
18
                                UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA

20    CHASOM BROWN, WILLIAM BYATT,                  Case No.: 4:20-cv-03664-YGR-SVK
      JEREMY DAVIS, CHRISTOPHER
21    CASTILLO, and MONIQUE TRUJILLO                PLAINTIFFS’ RESPONSE TO THE
      individually and on behalf of all similarly   COURT’S ORDER TO SHOW CAUSE
22
      situated,                                     (DKT. 784)
23
                    Plaintiffs,                     The Honorable Susan van Keulen
24                                                  Courtroom 6 - 4th Floor
      vs.                                           Date: March 2, 2023
25                                                  Time: 10:00 a.m.
26    GOOGLE LLC,
               Defendant.
27

28


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1    the Court, Google produced an internal email thread among Martin Sramek, Bert Leung, Chris
2    Liao, and other Google employees (including Matthew Gubiotti, Google’s in-house litigation
3    counsel assigned to supervise this case) discussing Google’s use of the X-Client-Data header for
4    Incognito detection. Mao Decl. Ex. 2 at -45. This email thread revealed that no later than
5    September 2021—when Google was reviewing and allegedly nearing completion of custodial
6    document production in this case—Google was investigating how internal employees were using
7    the X-Client-Data header in Google’s code, including for Incognito detection. Id.
8           On September 27, 2021, Google program manager Nate Schneider identified Bert Leung
9    and Chris Liao as owners for a “code search result” that mentioned “X-Client-Data.” Id. While
10 Google never provided those code search results, it appears from the email that the search in

11 September 2021 identified at least the “maybe_chrome_incognito” bit with Mr. Leung and Mr.

12 Liao. Mr. Schneider asked Mr. Leung (along with other Google employees) to confirm “whether

13 your project is reading the X-Client-Data Header from Chrome.” Id. In early October, Mr. Leung

14 responded that he was using the X-Client-Data header as a “good proxy signal for Incognito”

15 activity (which would have been Mr. Leung’s use for “maybe_chrome_incognito”) and asked what

16 the “alternatives” might be if he could no longer rely on that heuristic. Id. Mr. Schneider engaged

17 none other than Martin Sramek to offer alternatives to the X-Client-Data heuristic. Id.

18          The timing of this email exchange links up with the Court’s orders. On November 17,
19 2021—after more than five weeks of inactivity, but just one day before Google filed the

20 declaration by Mr. Golueke claiming (falsely) to be identifying all relevant data sources (Dkt.

21 338)—Messrs. Leung, Liao, and Schneider resurrected this email exchange. Mao Decl. Ex. 2 at -

22 44. Google redacted these subsequent communications as “privileged & confidential” due to “UK

23 and US litigation and regulatory inquiries,” and Mr. Gubiotti was copied on them. Id. at -42–44

24 (emphasis added). These communications raise questions Google has not even tried to answer,

25 including: Why was Mr. Golueke selected to provide the Court-ordered declaration rather than

26 someone like Mr. Sramek, who already knew about the Incognito-detection bits? Who chose Mr.

27 Golueke; was it Mr. Gubiotti? Was Mr. Golueke chosen because he was not on the email thread?

28 Did Mr. Gubiotti review the declaration before it was filed?
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1    obligations. Google’s tracking of private browsing is at the heart of this case. The Court’s order
2    (Dkt. 588 at 6) was not limited to just the three known Incognito-detection bits, rather it reasonably
3    included any Incognito-detection bits or ways Google may infer private browsing. The Order only
4    discussed those three bits by name because those were the only Incognito-detection bits the Court
5    and Plaintiffs were aware of at the time. Nothing in the language of the Court’s order restricted
6    Google’s representation to logs only containing those three bits.
7           Nor does Google’s interpretation align with the purpose of the Sanctions Order. The Court
8    issued sanctions to cure, in part, Google’s violation of two prior Court orders, seeking to identify
9    relevant data sources. Dkt. 273 at 1; Dkt. 331 at 3. The existence of other bits that could be used
10 to infer Incognito, and the logs that contain those fields and bits, is relevant and responsive

11 information. Google’s self-serving reinterpretation does not remedy the harm the sanction was

12 designed to cure, and Google’s refusal to make that representation is sanctionable.

13          Google’s reinterpretation also ignores the context for the Sanctions Order. The Court made
14 its intentions clear during the sanctions hearing, asking about the existence of any “other fields

15 that identify Incognito traffic?” 4/21/22 Hrg. Tr. 139:3–4 (emphasis added). The Sanctions Order

16 was not issued in a vacuum, and it was within the context of this specific questioning that the Court

17 ordered Google to state whether any additional logs exist—which Google has refused to do. Even

18 Mr. Sramek has declared that he initially (and correctly) “understood the Court’s order required
19 me to attest that there are no other data sources at Google in which any field is used by any team

20 to infer Incognito browser state in any form.” Dkt. 695-4 ¶ 7 (emphasis added).

21          Google’s sole excuse for not complying is that Google has unilaterally decided that
22 compliance is too much work. See Dkt. 695-4 ¶ 7 (“multiple months-long investigations would

23 have been required”). Notwithstanding the fact that Google appears to have operated under that

24 understanding for nearly three months, and indeed took multiple months after the Court’s deadline

25 to submit its representation, this excuse is wholly improper. Id. ¶¶ 3, 7. Rather than seek

26 clarification from the Court, Google unilaterally imposed a limitation on the Court’s Order, which

27 is a “new” violation that was not remedied by the prior Sanctions Order.

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1    ruling. That delayed disclosure was intentional, without any excuse, and it supports a finding of
2    willful discovery misconduct.
3           Seeking to somehow justify its delay, Google seems to suggest that this bit could or should
4    have been known to Plaintiffs—citing a July 18, 2019 Google blog post and July 20, 2019 Wired
5    article. Dkt. 810 n. 1 & 3. This is nonsense. Neither of those sources in any way suggests the
6    existence of this detection bit, or what data sources would have been associated with it. The Google
7    blog post (by Barb Palser, who Google never identified as a relevant potential custodian) criticizes
8    how “some sites” (suggesting other sites, not Google) “use an unintended loophole to detect when
9    people are browsing in Incognito Mode” and describes how Google was seeking to block that
10 “circumvention” because “any approach based on private browsing detection undermines the

11 principles of Incognito Mode.” Mao Decl. Ex. 5. Similarly, one Google witness in this case

12 testified that the “Incognito detection” at issue with this “loophole” “has always referred to the site

13 you are visiting in Incognito mode, detecting that you are in fact, in Incognito mode.” Mao Decl.

14 Ex. 6 [Schuh Tr. 152:4–23]. While Google was publicly criticizing websites for this exact form of

15 Incognito detection, Google was secretly engaged in that same detection, not only for Incognito

16 but other private browsing modes. 3

17          A finding of willful misconduct is also supported by the de-privileged email thread that
18 Google first produced in July 2022, after the Sanctions Order. Those communications demonstrate
19 that Google’s discovery misconduct here is by design. See Mao Decl. Ex. 2. Google employees

20 directly involved with this case were aware of one or more of the Incognito-detection bits in 2021,

21 before Google submitted Mr. Golueke’s declaration. The investigation addressed in the emails

22 very quickly became relevant to this case, as conceded by the employees who subsequently labeled

23 their (so-called) “privileged” communications as “prepared at the direction of counsel in

24 connection with . . . US litigation.” Ex. 2 at -42-44. (emphasis added). Yet, Mr. Golueke somehow

25 was kept walled away from these employees working on Incognito detection, which included

26
     3
27   The Wired article likewise did not disclose Google’s internal efforts to detect private browsing
   traffic. Google also cites GOOG-CABR-04331727, but which also only described how “Chrome
28 is closing loopholes that have been used by sites to detect if users are in incognito mode.”
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1    monetary sanctions, but also more severe sanctions given Google’s intentional misconduct, as
2    confirmed by recently disclosed evidence.
3                   1.      Terminating Sanctions Are Warranted.

4           After 21 months of Google’s intentional violation of discovery orders, Plaintiffs ask that

5    the Court now issue terminating sanctions. Default judgment and terminating sanctions are

6    “warranted in instances wherein a party has intentionally hidden or destroyed evidence to the

7    extent it severely undermines the Court’s ability to render a judgment based on the evidence and

8    threatens the ‘orderly administration of justice.’” OmniGen Research. v. Yongqiang Wang, 321

9    F.R.D. 367, 371 (D. Or. 2017) (quoting Leon v. IDX Sys. Corp., 464 F.3d 951, 958 (9th Cir. 2006)).

10 This Court has the authority to impose terminating sanctions under: (1) Federal Rule of Civil

11 Procedure 37(b)(2) (for disobeying discovery orders); (2) Rule 37(c)(1)(C) (for failing to provide

12 information or identify witnesses); (3) Rule 37(e) (for spoliation of electronic evidence); and (4)

13 the Court’s inherent authority (for abusive litigation practices). Id.; see also CrossFit, Inc. v. Nat'l

14 Strength & Conditioning Ass'n, No. 14-CV-1191 JLS (KSC), 2019 WL 6527951 (S.D. Cal. Dec.

15 4, 2019). To award terminating sanctions, the court must find that the disobedient party’s

16 noncompliance is “due to willfulness, fault, or bad faith.” Computer Task Grp., Inc. v. Brotby, 364

17 F.3d 1112, 1115 (9th Cir. 2004) (quoting Payne v. Exxon Corp., 121 F.3d 503, 507 (9th Cir. 1997))

18 (marks omitted). But “disobedient conduct not shown to be outside the control of the litigant is all
19 that is required to demonstrate willfulness, bad faith, or fault.” K. P. v. Santa Clara Cnty. Off. of

20 Educ., No. 5:15-CV-01512-EJD, 2016 WL 5930641, at *3 (N.D. Cal. Oct. 12, 2016) (quoting

21 Henry v. Gill Indus., Inc., 983 F.2d 943, 948 (9th Cir. 1993)). The record is replete with evidence

22 that Google has intentionally disobeyed Court order after Court order, and is continuing to violate

23 the Court’s orders. See supra Sections II.C, E, II.A.2, III.B.

24          Courts apply a five-factor test for imposing terminating sanctions: “(1) the public’s interest

25 in expeditious resolution of litigation; (2) the court’s need to manage its docket; (3) the risk of

26 prejudice to the party seeking sanctions; (4) the public policy favoring the disposition of cases on

27 their merits; and (5) the availability of less drastic sanctions.” Connecticut Gen. Life Ins. Co. v.

28 New Images of Beverly Hills, 482 F.3d 1091, 1096 (9th Cir. 2007) (marks omitted). “[T]he most
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1    critical factor…. is whether the discovery violations threaten to interfere with the rightful decision
2    of the case.” Id. at 1097.
3           These factors weigh in favor of terminating sanctions. First, and most importantly,
4    Google’s discovery violations have made it impossible to discover the full truth about Google’s
5    collection, storage, and use of private browsing data. These matters go to the heart of this case,
6    thus weighing heavily in favor of terminating sanctions. See Valley Eng’rs Inc. v. Elec. Eng’g Co.,
7    158 F.3d 1051, 1057 (9th Cir. 1998) (“[d]ismissal is appropriate where a ‘pattern of deception and
8    discovery abuse made it impossible’ for the district court to conduct a trial ‘with any reasonable
9    assurance that the truth would be available.’” (quoting Anheuser-Busch, Inc. v. Nat. Beverage
10 Distributors, 69 F.3d 337, 352 (9th Cir. 1995)). Google’s misconduct has deprived Plaintiffs of

11 key evidence on what private browsing data is captured, how it is stored, and how Google uses it.

12 Proceeding to summary judgment and trial without this information is highly prejudicial to

13 Plaintiffs. See Anheuser-Busch, Inc., 69 F.3d at 353–54 (“defendant suffers prejudice if the

14 plaintiff’s actions impair the defendant’s ability to go to trial or threaten or interfere with the

15 rightful decision of the case.”). 6

16          The remaining factors together also weigh in favor of Plaintiffs. For factors one and two,
17 Google was ordered to produce this evidence in April 2021, and nearly two years later still has not

18 complied. See Valley Engineers Inc., 158 F.3d at 1059 (affirming terminating sanctions where
19 lawyers violated court orders requiring document production for more than two years). While

20 factor four weighs against terminating sanctions, Google’s pattern of repeatedly violating Court

21 orders outweighs this consideration. See Reddy v. Gilbert Med. Transcription Serv., Inc., 467 F.

22 App'x 622, 624 (9th Cir. 2012) (“[t]he district court did not abuse its discretion by imposing

23 terminating sanctions under Fed. R. Civ. P. 37(b)(2)” based on “willful and repeated violations of

24
     6
25   Plaintiffs were also prejudiced by not having this evidence protected by the Court’s preservation
   orders. Google was aware this evidence was pertinent to this litigation since at least September
26 2021, making any loss of this evidence willful and, therefore, weighs in favor of terminating
   sanctions. See CrossFit, Inc., 2019 WL 6527951 at *10 (S.D. Cal. Dec. 4, 2019) (issuing
27 terminating sanctions reasoning “[a] party’s destruction of evidence can be considered willful or
   in bad faith when the party had notice that the evidence was potentially relevant to litigation before
28 it was destroyed.” (marks omitted)).
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1    the court’s discovery orders”); see also Wyle v. R.J. Reynolds Indus., Inc., 709 F.2d 585, 590 (9th
2    Cir. 1983) (affirming district court’s issuance of terminating sanctions where “[s]ufficient
3    evidence support[ed] the district court's finding that [the plaintiff], through [its counsel], willfully
4    failed to comply with discovery orders”). Finally, Google’s persistent refusal to provide required
5    discovery here makes less drastic sanctions infeasible. See Anheuser-Busch, Inc., 69 F.3d at 352
6    (“[i]t is appropriate to reject lesser sanctions where the court anticipates continued deceptive
7    misconduct.”); see also Valley Engineers Inc., 158 F.3d at 1058 (“no point to a lawsuit, if it merely
8    applies law to lies.”).
9                    2.        Alternatively, Additional Preclusion Sanctions Are Warranted.

10                             i)    Preclusion in the form of Court findings.

11           Because Google has repeatedly and continuously withheld discovery that is relevant to

12 proving certain elements of Plaintiffs’ claims, if the Court declines to award terminating sanctions,

13 Plaintiffs request that the Court make certain findings for purposes of summary judgment and

14 through the ultimate disposition of this case. See Fed. R. Civ. P. 37(b)(2)(A)(i) (permitting the

15 Court to “direct[] that the matters embraced in the order or other designated facts be taken as

16 established for purposes of the action”); Fed. R. Civ. P. 37(c)(1)(C) (failing to provide information

17 or identify a witness); Fed. R. Civ. P. 37(e)(1) (failing to preserve ESI); Guifu Li v. A Perfect Day

18 Franchise, Inc, 281 F.R.D. 373, 396 (N.D. Cal. 2012) (court’s inherent authority). Based on
19 Google’s additional misconduct, the full scope of which will never be known, Plaintiffs request

20 that the Court make the following findings, modified from what Plaintiffs initially proposed in

21 their August motion seeking additional sanctions:

22       1. Throughout the class period, Google used multiple processes to identify Plaintiffs’ and
            class members’ private browsing activities.
23       2. Throughout the class period, Google used multiple processes to detect private browsing
24          activities in at least Chrome, Safari, and Edge.
         3. Throughout the class period, Google systematically intercepted, collected, stored, and used
25          Plaintiffs’ and class members’ private browsing information.
26       4. Throughout the class period, Google read and learned the contents or meaning of Plaintiffs’
            and class members’ private browsing communications.
27
         5. Throughout the class period, Google took, copied, and made use of Plaintiffs’ and class
28          members’ private browsing data.

                                                        21
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        6. Throughout the class period, Google readily and systematically mixed private browsing
1
           data with the other data it stores.
2       7. Throughout the class period, Google’s use of browsing data to develop or improve any
           products, services, or algorithms presumptively included private browsing data.
3
        8. Throughout the class period, Google’s conduct in terms of collecting, storing, and using
4          Plaintiffs’ and class members’ private browsing data was highly offensive.
5       9. In response to multiple court orders, Google withheld relevant information regarding its
           collection, storage, and use of private browsing data.
6
            These requested sanctions are also listed in the Mao Declaration. See Mao Decl. Ex. 7.
7
     Such sanctions are warranted because Google’s delays have deprived Plaintiffs of “a meaningful
8
     opportunity” to “comprehend” how collects, stores, and uses private browsing data. Apple Inc. v.
9
     Samsung Elecs. Co., No. C 11-1846 LHK PSG, 2012 WL 1595784, at *3 (N.D. Cal. May 4, 2012).
10
                           ii)     Preclusion regarding certain Google arguments.
11
            Based on Google’s discovery misconduct, this Court may “prohibit[] [Google] from
12
     supporting or opposing designated claims or defenses, or from introducing designated matters in
13
     evidence.” Fed. R. Civ. P. 37(b)(2)(A)(ii); see also Fed. R. Civ. P. 37(c)(1)(C); Fed. R. Civ. P.
14
     37(e)(1); Guifu Li, 281 F.R.D. at 396 (court’s inherent authority). “[I]t is entirely reasonable to
15
     sanction [Google’s] defiance of the [numerous discovery] Order[s] by precluding [it] from
16
     presenting evidence on [issues for which Google] ha[s] not provided timely and complete
17
     discovery.” Sas v. Sawabeh Info. Servs., No. CV114147MMMMANX, 2015 WL 12711646, at
18
     *11 (C.D. Cal. Feb. 6, 2015). Plaintiffs request that the Court now preclude Google from making
19
     the following arguments:
20

21      1. Google is precluded from arguing that it has no way of determining how often users use
           private browsing modes.
22      2. Google is precluded from arguing that it does not join private browsing data to
23         authenticated data.
        3. Google is precluded from arguing that its data sources, including those sources for
24         authenticated data, does not include private browsing data.
25      4. Google is precluded from arguing that it does not use private browsing data to “perform
           analysis and modeling to predict ad revenues.”
26
        5. Google is precluded from arguing that it does not use private browsing data for “ads related
27         to third-party exchanges.”

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                                                     22
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        6. Google is precluded from arguing that it has not made private browsing data available for
1
           other business purposes.
2
            This limited relief, which is crafted to preclude Google from contesting facts that are made
3
     clear from Google’s submissions. See Mao Decl. Ex. 7. Google’s failure to comply with Court
4
     orders has prevented Plaintiffs’ efforts to fully understand these issues. It is now “appropriate,
5
     based on these failures, to preclude [Google] from introducing further facts or evidence in response
6
     to these issues” to prevent Google from exploiting the evidentiary gaps it has created. Lanier v.
7
     San Joaquin Valley Offs. Ass'n, No. 1:14-CV-01938-EPG, 2016 WL 4764669, at *8 (E.D. Cal.
8
     Sept. 12, 2016); see also Shanghai Weiyi Int'l Trade Co. v. Focus 2000 Corp., No.
9
     15CV3533CMBCM, 2017 WL 2840279, at *11 (S.D.N.Y. June 27, 2017) (where, as here, “the
10
     discovery misconduct has deprived the opposing party of key evidence needed to litigate a
11
     contested issue, an order prohibiting the disobedient party from contesting that issue . . . is. . .
12
     appropriate.”).
13
                            iii)   Witness and testimony preclusion.
14
            Plaintiffs further request the Court preclude Google from relying for any purpose on the
15
     testimony of the numerous undisclosed Google employees now relied on for its Response and
16
     other post-discovery filings, where none of these names appeared in the list of 220 employees
17
     Google disclosed earlier: Martin Sramek, Matt Harren, Borbala Benko, Maciej Kuzniar, Eugene
18
     Lee, Xianzhi Liu, Eric Maki, and Vasily Panferov. See Rule 37(c)(1); Rule 37(e)(1); Guifu Li, 281
19
     FRD at 396 (Court’s inherent authority). Under Rule 37(c)(1), the Court previously precluded
20
     Google from offering or relying on any testimony from four Google engineers. Sanctions Order at
21
     40. With respect to these eight additional Google employees, Google also “violated Rule 26(e)
22
     when it failed to disclose [them] in response to Plaintiffs’ interrogatory asking Google to identify
23
     employees ‘with responsibility for or knowledge of . . . Google’s collection of and use of data in
24
     connection with users’ activity while in a private browsing mode.’” Sanctions Order at 55; Dkt.
25
     429-15 (interrogatory response); Dkt. 429-11 (list of over 200 Google employees).
26
            The evidence disproves Google’s claim that Mr. Sramek’s “knowledge became only
27
     relevant as a result of the Court’s [sanctions] Order.” Resp. at 21. Mr. Sramek was involved with
28
                                                      23
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1    expert fees, incurred within the Special Master process more broadly due to Google’s obstruction,
2    which made the process longer and more expensive than necessary. 8
3    IV.      CONCLUSION

4             Plaintiffs respectfully request that the Court direct the parties to submit findings of fact and

5    conclusions of law in advance of the March 2, 2023 hearing, and impose the sanctions discussed

6    above.

7
     Dated: January 20, 2023                          BOIES SCHILLER FLEXNER LLP
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10                                                    By /s/ Mark C. Mao

11
                                                      Mark C. Mao (CA Bar No. 236165)
12                                                    mmao@bsfllp.com
                                                      Beko Reblitz-Richardson (CA Bar No. 238027)
13                                                    brichardson@bsfllp.com
                                                      Erika Nyborg-Burch (CA Bar No. 342125)
14                                                    enyborg-burch@bsfllp.com
                                                      BOIES SCHILLER FLEXNER LLP
15
                                                      44 Montgomery Street, 41st Floor
16                                                    San Francisco, CA 94104
                                                      Telephone: (415) 293 6858
17                                                    Facsimile (415) 999 9695

18                                                    David Boies (pro hac vice)
                                                      dboies@bsfllp.com
19                                                    BOIES SCHILLER FLEXNER LLP
                                                      333 Main Street
20                                                    Armonk, NY 10504
                                                      Tel: (914) 749-8200
21

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     8
     To streamline these proceedings, Plaintiffs respectfully request the Court defer ruling on their
25 request for additional jury instructions so that the parties may first obtain guidance from the Court
   regarding how this case may proceed (be it a jury or bench trial). Jury instructions also may be
26 relevant at a later date depending on how the Ninth Circuit rules on Plaintiffs’ Rule 23(f) petition.
   If the Court does not wish to defer that ruling, then Plaintiffs would seek the requested jury
27 instructions as well as additional instructions tied to “                            ,” that Google
   systematically joins authenticated and unauthenticated data, and Google’s refusal to search for and
28 identify all detection bits.
                                                         25
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                                              James W. Lee (pro hac vice)
1                                             jlee@bsfllp.com
                                              Rossana Baeza (pro hac vice)
2                                             rbaeza@bsfllp.com
                                              BOIES SCHILLER FLEXNER LLP
3                                             100 SE 2nd Street, Suite 2800
                                              Miami, FL 33130
4                                             Telephone: (305) 539-8400
                                              Facsimile: (305) 539-1304
5

6                                             Amanda Bonn (CA Bar No. 270891)
                                              abonn@susmangodfrey.com
7                                             SUSMAN GODFREY L.L.P.
                                              1900 Avenue of the Stars, Suite 1400
8                                             Los Angeles, CA 90067
                                              Telephone: (310) 789-3100
9
                                              Bill Carmody (pro hac vice)
10                                            bcarmody@susmangodfrey.com
11                                            Shawn J. Rabin (pro hac vice)
                                              srabin@susmangodfrey.com
12                                            Steven Shepard (pro hac vice)
                                              sshepard@susmangodfrey.com
13                                            Alexander P. Frawley (pro hac vice)
                                              afrawley@susmangodfrey.com
14
                                              SUSMAN GODFREY L.L.P.
15                                            1301 Avenue of the Americas, 32nd Floor
                                              New York, NY 10019
16                                            Telephone: (212) 336-8330

17                                            John A. Yanchunis (pro hac vice)
                                              jyanchunis@forthepeople.com
18
                                              Ryan J. McGee (pro hac vice)
19                                            rmcgee@forthepeople.com
                                              MORGAN & MORGAN, P.A.
20                                            201 N Franklin Street, 7th Floor
                                              Tampa, FL 33602
21                                            Telephone: (813) 223-5505
                                              Facsimile: (813) 222-4736
22

23                                            Michael F. Ram, CA Bar No. 104805
                                              MORGAN & MORGAN
24                                            711 Van Ness Ave, Suite 500
                                              San Francisco, CA 94102
25                                            Tel: (415) 358-6913
                                              mram@forthepeople.com
26

27                                            Attorneys for Plaintiffs

28
                                                 26
         PLAINTIFFS’ RESPONSE TO THE COURT’S OSC (DKT. 784) - CASE NO. 4:20-CV-03664-YGR-SVK
